                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION
A. PHILIP RANDOLPH INSTITUTE OF OHIO, et al.,

                       Plaintiffs,

v.

                                                             Case No. 1:20-cv-01908
FRANK LAROSE, in his official capacity as Secretary
of State of Ohio,
                                                             Hon. Dan Aaron Polster

                       Defendant.



                    PLAINTIFFS’ MOTION FOR RECONSIDERATION
                      OF OCTOBER 6, 2020 OPINION AND ORDER

       Pursuant to Federal Rules of Civil Procedure 59(e) and 60(b), Plaintiffs respectfully

request that the Court reconsider its Opinion and Order, dated October 6, 2020, dismissing this

case without prejudice. Dkt. No. 88. In turn, Plaintiffs request that the Court issue a ruling in

favor of Plaintiffs on their Preliminary Injunction Motion. Dkt. No. 13. In the time since the

October 6th Opinion and Order was entered, counsel for Defendant LaRose has clarified his

position that, expressly contrary to this Court’s interpretation, Directive 2020-22 does not allow

county boards of election to conduct off-site ballot collection. Accordingly, the controversy

between the parties remains, and an injunction remains appropriate.

I.     Background

       On August 12, 2020, Defendant Frank LaRose issued Directive 2020-16, which states

that “[b]oards of elections are prohibited from installing a drop box at any other location other

than the board of elections.” Exh. A, Ohio Sec’y of State, Directive 2020-16 (Aug. 12, 2020).
On August 26, 2020, Plaintiffs challenged Directive 2020-16 on the grounds that the Directive’s

prohibition on additional drop boxes1 places unconstitutional burdens on Ohioans’ right to vote

and violates the Fourteenth Amendment’s Equal Protection Clause. Dkt. No. 1. Plaintiffs filed a

Motion for a Preliminary Injunction on September 4, 2020. Dkt. No. 13. The Court held an

evidentiary hearing on the Motion on September 23, 2020 and heard argument on September 24,

2020.

        On September 25, 2020, the Court issued an Order “holding in abeyance any ruling on

Plaintiffs’ motion for a preliminary injunction to see if the conclusion of the state litigation

moots this case.” Dkt. No. 77 at 6. With respect to Cuyahoga County, the Court found that:

        The record shows that the Cuyahoga County board’s physical layout cannot
        accommodate the large number of voters who are expected to descend upon board
        headquarters at E. 30th and Euclid on election day and the days immediately
        before to access the drop box in the middle of its parking lot. The Court credits
        the testimony of board member Inajo Chappell and expert witness Dr. Daniel
        Chatman that predicted the massive traffic jam and delay will likely lead to many
        voters giving up and losing their ability to vote. Dr. Chatman also testified that
        many urban voters, who are disproportionately people of color and low income,
        do not have cars, and that it would take them more than two hours round trip by
        public transportation to get to the sole drop box at the board offices. The
        Cuyahoga County board therefore voted on September 14 to implement a system
        of off-site ballot delivery. Board employees would go to six public libraries on
        pre-announced days (every Tuesday, Thursday, and Saturday between October 13
        and 31, from 12:00-6:00 pm) to receive completed ballots. The board employees
        would then return the ballots to the board office. A few hours after the vote, the
        Secretary of State sent an e-mail to the board prohibiting them from implementing


1
  The term “drop box” is used broadly by election officials to refer to any secure receptacle, unstaffed or
staffed, by which voters are able to hand-deliver their absentee ballots to election officials. See Exh. B,
Pls. Exh. 8, McGuire Decl., at 16 (“A ballot drop box provides a secure and convenient means for voters
to return their mail ballot. A drop box is a secure, locked structure operated by election officials where
voters may deliver their ballots from the time they receive them in the mail up to the time polls close on
Election Day. Ballot drop boxes can be staffed or unstaffed, temporary or permanent. Unstaffed drop
boxes are typically available 24 hours a day and permanently anchored in place. Staffed drop boxes are
typically available during regular business hours and monitored by trained workers during those hours.”);
Exh. C, McGuire Test. at 169:21-170:1 (testifying that “ballot drop box,” “ballot drop box receptacle,”
“ballot collection location,” or “ballot drop site” are synonymous terms). Thus, the Court rightly used the
term “drop box” to cover any such secure receptacle. Dkt. No. 88 at 1, 2, 3; Dkt. No. 77 at 2, 3, 4, 5, 6.


                                              Page 2 of 10
       this plan until instructed otherwise by the Secretary of State. The e-mail referred
       to Ohio’s voting statutes and to the pending state and federal litigation.

Id. at 4-5. The Court further found that “[t]he evidence Plaintiffs presented at the September 23

hearing of the looming crisis facing Cuyahoga County voters was not rebutted.” Id. at 6. The

Court, therefore, ordered Defendant LaRose to “work closely with the Cuyahoga County board

of elections to develop and implement a plan to alleviate the looming crisis for voters who plan

to personally deliver their ballots for the November 3 election rather than returning them by

mail.” Id. at 6-7.

       On October 2, 2020, the Tenth District Court of Appeals upheld the state trial court’s

determination that Ohio law neither prohibits nor requires ballot drop boxes at locations other

than the boards of elections, leaving in place Directive 2020-16’s prohibition on additional drop

boxes. See Ohio Democratic Party et al. v. LaRose, No. 20AP432 (Ohio Ct. App. Oct. 2, 2020).

       Defendant LaRose submitted a Notice in response to the Court’s September 25th Order

on September 30, 2020. Dkt. No. 79. The Notice stated that Defendant LaRose had approved

the portion of the Cuyahoga County Board of Election’s plan to allow the Board staff collect

absentee ballots in the parking lot at 3100 Chester Avenue. Id. The Notice implicitly rejected

the Board’s plan to move forward with its proposed system of off-site ballot delivery at six

libraries around the county. On October 5, 2020, Defendant LaRose issued Directive 2020-22

“clarifying” that “Directive 2020-16, never prohibited and does not prohibit a board of elections

from installing more than one secure receptacle outside the office of the board of elections.”

Exh. D, Ohio Sec’y of State, Directive 2020-22 at 3 (emphasis in original).

       The Court issued its sua sponte Opinion and Order dismissing this action without

prejudice yesterday, October 6, 2020, on the grounds that Directive 2020-22 “authorized any

board to deploy its staff to receive ballots at sites other than the board office. This means that the

                                            Page 3 of 10
Cuyahoga County board may implement its intended plan to receive ballots at six public

libraries, and that any other board in Ohio that votes to do so may deploy its staff to receive

ballots off-site, so long as the board complies with the procedures set forth in Section II of

Directive 2020-22.” Dkt. No. 88 at 3. The Court found that “[t]here is no evidence before the

Court that Secretary LaRose is currently prohibiting any board from doing something it voted to

do to protect the voting rights of its citizens with respect to off-site drop boxes or off-site

delivery of ballots. Therefore, there is no problem that requires an injunction.” Id.

        Defendant LaRose, however, has taken a position contrary to the Court’s reading

regarding the meaning of Directive 2020-22. Soon after the Court issued its Opinion and Order

yesterday, an assistant prosecuting attorney at the Cuyahoga County Prosecutor’s Office wrote to

Bridget Coontz, Section Chief – Constitutional Offices Section, Office of Ohio Attorney General

and Counsel to Defendant LaRose stating that:

                with the prior unanimous approval of the Cuyahoga County BOE,
                there is interest in moving forward with the plan to accept absentee
                ballot deliveries at locations outside the Board of Elections’ office
                in addition to the 3100 Chester Avenue site that we previously
                discussed. If your client does not object, I will advise the
                Cuyahoga County BOE that it may proceed as originally planned
                with deploying bipartisan teams to the libraries to accept deliveries
                in a manner that conforms with Section II of Directive 2020-22.

Exh. E, Coontz Email Chain at 2-3.

        In response, at 7:00 am this morning, Ms. Coontz stated that “contrary to the Court’s

statement in its Order, the Secretary’s recent Directive 2020‐22 did not authorize the portion of

the Cuyahoga County Board’s Plan ‘to receive ballots at six public libraries,’ nor did the

Directive authorize ‘any other board in Ohio that votes to do so [to] deploy its staff to receive

ballots off‐site.’” Id. at 2; see also Exh. F, Dayton Daily News, LIVE: Dayton Daily News

Community Conversation: Will Your Vote Count?,


                                             Page 4 of 10
https://www.facebook.com/daytondailynews/videos/346305596701815, at min. 41:25-42:15

(Merle Madrid, Chief Of Staff for Defendant LaRose, stating that “our Directives 2020-16 and

2020-22 laid out the option for boards of elections to have drop boxes at their board of elections

or do manned drop off at the board of elections . . . the voting has started and the Directives are

in place to have drop boxes at the board of elections and manned drop off at the board of

elections for absentee ballot return”).

       Ms. Coontz also touted the fact that the Court had dismissed this case Exh. E, Coontz

Email Chain, and, contrary to the September 14, 2020 Email from Director of Elections Amanda

Grandjean to the Cuyahoga County Board invoking this litigation as a reason to prohibit off-site

ballot collection, Exh. G, Pls. Exh. 54, Grandjean Email Chain, now claims that the Defendant

LaRose’s continuing prohibition of the Cuyahoga County plan has nothing to do with this

litigation. All of this conduct flies in the face of Defendant LaRose’s previous statements that he

would like to authorize multiple drop boxes in every county if the law allows it. Exh. H, Pls.

Exh. 33, LaRose Town Hall Forum – Three months from Election Day Video. Which the law

does. Ohio Democratic Party et al. v. LaRose, No. 20AP432 (Ohio Ct. App. Oct. 2, 2020).

II.    Legal Standard

       The Court has discretion to reconsider its own judgments and orders under Federal Rules

of Civil Procedure 59(e) and 60(b). Lonardo v. Travelers Indem. Co., 706 F. Supp. 2d 766, 808-

09 (N.D. Ohio 2010) (“The grant or denial of a Rule 59(e) motion is within the informed

discretion of the district court, reversible only for abuse.” (quoting Betts v. Costco Wholesale

Corp., 558 F.3d 461, 467 (6th Cir. 2009)); Boone v. Warden, Mansfield Corr. Inst., 2020 WL

3488734 (S.D. Ohio June 26, 2020) (holding that whether to grant relief under Rule 60(b) is




                                            Page 5 of 10
“within the sound discretion of the court and will not be disturbed on appeal unless the court has

abused its discretion”).

       “A Rule 59(e) motion may be well-taken if there is (1) a clear error of law; (2) newly

discovered evidence; (3) an intervening change in controlling law; or (4) to prevent manifest

injustice.” Lonardo, 706 F. Supp 2d at 808-09 (citing Intera Corp. v. Henderson, 428 F.3d 605,

620 (6th Cir. 2005)) (granting motion to reconsider where an affidavit provided information that

the Court had not previously considered). Under Rule 60(b), relief is appropriate in cases of

“mistake, inadvertence, surprise, or excusable neglect,” or for “any other reason that justifies

relief.” Fed. R. Civ. P. 60(b). For example, when there is “a substantive mistake of law or fact in

the final judgment or order.” Boone v. Lazaroff, 2020 WL 2711403, at *2 (S.D. Ohio May 26,

2020) report and rec. adopted sub nom (quoting United States v. Reyes, 307 F.3d 451, 455 (6th

Cir. 2002)).

III.   Argument

       The Court’s October 6th Opinion and Order relied on the belief that Defendant LaRose

had taken action to address the “looming crisis for voters” in Cuyahoga County. Dkt. No. 77 at

7. Defendant LaRose, however, has utterly failed to take any such action. Rather, contrary to

the Court’s October 6th Opinion and Order, and with no basis for doing so, Defendant LaRose

continues to prohibit any ballot collection other than at the board of elections. Exh. E, Coontz

Email Chain at 1. Defendant LaRose has rejected the portions of the Cuyahoga County Board of

Elections plan that called for additional collection locations at public libraries. Id. This

prohibition serves no relevant or legitimate state interest, and does not address the “looming

crisis” the Court described in its September 25th Order, which Plaintiffs have shown imposes a

substantial burden on their and their members’ rights to vote.



                                            Page 6 of 10
          Because neither Directive 2020-22, nor any other action taken by Secretary LaRose, has

alleviated Directive 2020-16’s unconstitutional burden on Ohioans’ right to vote, there is clearly

still a “problem that requires an injunction.” Dkt. No. 88 at 3. To resolve this constitutional

problem and “to prevent manifest injustice” to Ohio voters, the Court should reconsider its

October 6th Opinion and Order and enjoin Directive 2020-16 to the extent it prohibits Ohio

county boards of elections from installing a drop box at any other location other than the boards

of elections. See Lonardo, 706 F. Supp 2d at 808.

IV.       Conclusion

          For the foregoing reasons, the Court should reconsider its October 6, 2020 Opinion and

Order and enjoin Directive 2020-16 to the extent if prohibits Ohio county boards of elections

from installing drop boxes at any location other than the board of elections. Plaintiffs are

prepared to submit Findings of Fact and Conclusions of Law in support of the issuance of the

injunction, and a detailed Order that lays out the appropriate injunctive relief, given these latest

events.




                                            Page 7 of 10
Dated: October 7, 2020   Respectfully submitted,

                          /s/ James Schuster
                          James Schuster (Ohio Bar No. 0065739)
                          JSA LLP
                          2355 Bellfield Ave.
                          Cleveland Heights, OH 44106
                          Telephone: (216) 882-9999
                          jschuster@OHcounsel.com

                          Jon Greenbaum
                          Ezra D. Rosenberg
                          Pooja Chaudhuri
                          LAWYERS’ COMMITTEE FOR
                          CIVIL RIGHTS UNDER LAW
                          1500 K Street N.W., Suite 900
                          Washington, D.C. 20005
                          Telephone: (202) 662-8600
                          jgreenbaum@lawyerscommittee.org
                          erosenberg@lawyerscommittee.org
                          pchaudhuri@lawyerscommittee.org

                          Subodh Chandra (Ohio Bar No. 0069233)
                          Donald P. Screen (Ohio Bar No. 0044070)
                          Brian D. Bardwell (Ohio Bar No. 0098423)
                          THE CHANDRA LAW FIRM LLC
                          1265 W. 6th St., Suite 400
                          Cleveland, OH 44113-1326
                          Telephone: (216) 578-1700
                          Subodh.Chandra@ChandraLaw.com
                          Donald.Screen@ChandraLaw.com
                          Brian.Bardwell@ChandraLaw.com

                          Freda J. Levenson (Ohio Bar No. 0045916)
                          ACLU OF OHIO FOUNDATION
                          4506 Chester Avenue
                          Cleveland, Ohio 44103
                          Telephone: (216) 472-2220
                          flevenson@acluohio.org

                          David J. Carey (Ohio Bar No. 0088787)
                          ACLU OF OHIO FOUNDATION
                          1108 City Park Avenue, Suite 203
                          Columbus, Ohio 43206
                          Telephone: (614) 586-1972 x2004
                          dcarey@acluohio.org

                         Page 8 of 10
 Neil A. Steiner
 Mariel R. Bronen
 DECHERT LLP
 Three Bryant Park
 1095 Avenue of the Americas
 New York, New York 10019
 Telephone: (212) 689-3500
 neil.steiner@dechert.com
 mariel.bronen@dechert.com

 Erik Snapp
 DECHERT LLP
 35 West Wacker Drive, Suite 3400
 Chicago, IL 60601
 Telephone: (312) 646-5800
 erik.snapp@dechert.com

 Lindsey B. Cohan
 DECHERT LLP
 515 Congress Avenue, Suite 1400
 Austin, Texas 78701
 Telephone: (512) 394-3000
 lindsey.cohan@dechert.com

 Theodore E. Yale
 DECHART LLP
 Cira Centre, 2929 Arch Street
 Philadelphia, PA 19104
 Telephone: (215) 994-4000
 theodore.yale@dechert.com

 Counsel for Plaintiffs




Page 9 of 10
                                  CERTIFICATE OF SERVICE

        I CERTIFY that on October 7, 2020, a true and correct copy of the foregoing was

furnished by electronic filing with the Clerk of the Court via CM/ECF, which will send notice of

electronic filling to all counsel of record.


                                                         /s/ James Schuster




                                               Page 10 of 10
